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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

NATIONAL ASSOCIATION FOR                       §
GUN RIGHTS, INC., et al.,                      §
                                               §
        Plaintiffs,                            §
                                               § Civil Action No. 4:23-cv-00830-O
v.                                             §
                                               §
MERRICK GARLAND, et al.,                       §
                                               §
        Defendants.                            §

                                           ORDER
        Before the Court is Plaintiffs' Motion for Temporary Restraining Order (ECF No. 17)

with Plaintiffs' Brief in Support of Motion (ECF No. 18), filed August 14, 2023. It does not

appear that Plaintiffs are requesting ex parte relief. The Court therefore ORDERS

Plaintiffs to confer with Defendants and agree on a briefing schedule to address this motion.

The parties are to file a joint notice outlining the agreed briefing schedule no later than August

18, 2023.

        S.O ORDERED this 14th day of August, 2023.

                                                _____________________________________
                                                Reed O’Connor
                                                UNITED STATES DISTRICT JUDGE
